   Case 1:23-cr-00791-KMW             Document 67        Filed 04/25/23      Page 1 of 2 PageID: 217




                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                       :      Hon. Sharon A. King

       v.                                      :      Mag. No. 20-5525 (SAK)

KEVIN MCDANIELS                                :

                                  ORDER FOR CONTINUANCE

               This matter having come before the Court on the joint application of Philip R. Sellinger,

United States Attorney for the District of New Jersey (Alisa Shver, Assistant U.S. Attorney, appearing),

and defendant Kevin McDaniels (Megan Davies, appearing), for an order granting a continuance of the

proceedings in the above-captioned matter for a period to permit the defendant and his counsel time to

review informal discovery provided earlier and to engage in plea negotiations, if the defendant desires to

do so; the defendant being aware that he has the right to have the matter submitted to a grand jury within

thirty days of the date of his initial appearance pursuant to Title 18, United States Code, Section

3161(b); the defendant having consented to this continuance; and defendant having waived his right to a

speedy trial, and for good cause shown:

               IT IS THE FINDING OF THIS COURT that this action should be continued for the

following reasons:

               (1) The defendant and his counsel have expressed a need to review the informal

                     discovery materials provided by the United States, to confer to discuss how to

                     proceed, and to engage in plea negotiations, if appropriate;

               (2) The defendant has consented to the continuance; and
   Case 1:23-cr-00791-KMW            Document 67          Filed 04/25/23   Page 2 of 2 PageID: 218




               (3) Pursuant to Title 18, United States Code, Sections 3161(h)(1)(A) and 3161(h)(7)(A),

                   the ends of justice served by granting the continuance outweigh the best interest of

                   the public and the defendant in a speedy trial.

               IT IS, therefore, on this 25th     day of April 2023,

               ORDERED that this action be, and hereby is, continued from the date of the entry of this

Order to and including July 21, 2023, and it is further

               ORDERED that the period from the date of the entry of this Order through and including

July 21, 2023, shall be excludable in computing time under the Speedy Trial Act of 1974.




                                                  HON. SHARON A. KING
                                                  United States Magistrate Judge
Seen and agreed to by:




ALISA SHVER
Assistant U.S. Attorney



__/s/ Megan Davis
MEGAN DAVIES, ESQUIRE
Counsel for Defendant Kevin McDaniels




                                                     2
